                 Case 1:20-cv-00157-JRH-BKE Document 1 Filed 11/10/20 Page 1 of 25


Pro Sc ?(Rev.       Conipiaim I’or [vmpioymciil Di^'Crimiiuiiion



                                        United States District Court
                                                                         for ihc

                                                            SoLiihcrn District of Georgia

                                                                   AlhzlisUi Division

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                  Jasmine Bianca McKenzie
                                                                           )       Case No.                     u-                  157
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           Southern Nuclear Operating Company                              )
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   See Attached for Defendants of Individual Capacity
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                            l)efendant(s)
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                                COMPLAINT FOR EMPLOYMENT DLSCRIM1NATI0^^


i.         The Parties to This Coinpiaint
           A.        The Plainliftts)

                     Provide the inforniaiion below for each piainiilf named in the complaint. Attach additional pages il
                     needed.
                                 Name                                  Jasmine Bianca McKenzie

                                 Street Address                        5012 Sunderlund Ct

                                 City and County                       Grovetown; Columbia

                                 State and Zip Code                    GA 30813

                                 Telephone Number                      334.796.9407

                                 E-mail .Atldress                      jasminebmckenzie@gmail.com



            B.        The DefenrianUs)

                      Pi'ovide the information below lor each delendant named in the complaint, whether the delendant is an
                      individual, a govei'iimeni agency, an organization, or a coiporation. For an individual delendant.
                      include the jicrson's joh or title iifkm>wn). Attach additional pages il needed.

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                 Case 1:20-cv-00157-JRH-BKE Document 1 Filed 11/10/20 Page 2 of 25


Pro Se 7(Rev. 12-'16) Coniplainl for Emptoymciil Discrimination


                     Defendant No.

                                Name                              Southern Nuclear Operating Company

                                ,Iob or Title (ifknown)
                                Street Address                    40 Iverness Center Pkwy

                                City and County                   Birmingham; Jefferson

                                State and Zip Code                AL 35242

                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 2
                                Name                              Jessica Ronee Richardson

                                Job or Title (if known)           Maintenance Support Manager
                                Street Address                    2130 Broker Rd

                                City and County                   Lapeer; Lapeer

                                State and Zip Code                Ml 48446

                                Telephone Number
                                E-mail Address (if known)


                      Defendant No. 3

                                 Name                             Rosalind Michele Henson

                                 Job or Title (if known)          Planning Supervisor

                                 Street Address                   493 Knob Hill Ct W

                                 City and County                  Evans; Columbia

                                 State and Zip Code               GA 30809

                                 Telephone Number
                                 E-mail Address (ffknown)


                      Defendant No. 4

                                 Name                             See Attached for Defendants No. 4-10

                                 Job or Title (if known)
                                 Street Address

                                 City and County

                                 State and Zip Code

                                 Telephone Number
                                 E-mail Address (if known)



                                                                                                         Page 2 of 6
                Case 1:20-cv-00157-JRH-BKE Document 1 Filed 11/10/20 Page 3 of 25


Pro Se 7(Rev.     Conipiaim for Employmcm Discriiiiinalii'm


         C.       Place of Employment

                  The address at which I sought employment or was employed by the defeiidant(s) is


                            Name                              Alvin W. Vogtie Electric Generating Plant
                             Street Address                   7821 River Rd

                             City and County                  Waynesboro: Burke

                             State and Zip Code               GA 30830

                            'I'elephone Number                (706) 554-9961



II.       Basis for Jurisdiction

          This action is brought for discrimination in employment pursuant lo (check all that apply):


                 ✓             Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-17 (race,

                               color, gender, religion, national origin).


                               (Note: In order to bring suit in federal district court under Title VII, you mustfirst obtain a
                               Notice of Right to Sue letterfrom the Equal Employment Opportunity Commission.)


                                Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.


                               (Note: In order to bring suit in federal district court under the Age Discrimination in
                               Employment Act, you mustfirstfile a charge with the Equal Employment Opportunity
                                Commission.)


                               .Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.


                               (Note: In order to bring suit in federal district court under the Americans with Disabilities
                               Act. you must first obtain a Notice of Right to Sue letterfrom the Equal Employment
                                Opportunity Commission.)


                                Other federal law t.ipecijy thefederal law):



                                Relevant slate law (specify, if known):



                                Relevant city or county law’ (specify, if known):




                                                                                                                         Page 3 of 6
                Case 1:20-cv-00157-JRH-BKE Document 1 Filed 11/10/20 Page 4 of 25


Pro Sc 7(Rev. 12-16) Complaint for Empioymeni DiscriiDinauon




III.      statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. Stale how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

          A.        The discriminatory conduct of which 1 complain in this acti(.)n includes (check all that apply):


                                         Failure to hire me.

                                          Termination of my employment.
                            ✓             Failure to promote me.

                                          Failure to accommodate my disability.

                                          Unequal terms and conditions of my employment.
                            ✓             Retaliation.
                            ✓             Other acts (specify):   Due process rights violated

                                         {Note: Only those grounds raised in the chargefded with the Equal Employment
                                         Opportunity Commission can he considered by thefederal district court under the
                                         federal employment discrimination statutes.)


        B.           It is my best recollection that the alleged discriminatory acts occurred on date(s)
                    Includes several incidents that occured on or around Oct 15 2016 through on or around January 2020


        C.           I believe that defendant(s)(check one):

                                          i.s/are still committing these acts against me.
                            ✓             is,htre not still committing these acts against me.


        D.           DefendanUs) discriminated against me based on my (check at! that apply amt explain):
                             ✓            race

                                          color
                             ✓            gender'sex

                                          religion

                                          national origin

                                          age (year ofhinhj                    (only when asserting a claim ofage discrimination.)

                                          disability or perceived disability (specify disahility)




         E.          The facts of my case are as follows. Attach additional pages if needed.




                                                                                                                            Page 4 of 6
                Case 1:20-cv-00157-JRH-BKE Document 1 Filed 11/10/20 Page 5 of 25


Pro Sc 7(Rev. 12.'i6) Conipiaim for Fimploymenl Pi‘icriuiination

                     See Attached




                     (Note: As addilionul supportfor the facts of your claim, you may attach to this complauit a copy of
                     your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
                     relevant state or city human rights division.)


IV.     Exhaustion of Federal Administrative Remedies

         A.          It is my best recollection that I filed a charge with tlte Equal Employment Opporttinity Commission or
                     my Eciual Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
                     on (dale)
                    06102/2020




        B.            The Equal Employtnent Opportunity Commission (check one):
                                            has not issued a Notice of Right to Sue letter,
                              ✓             isstied a Notice of Right to Sue letter, which I received on (date) 08/17/2020

                                           (Note: Attach a copy ofthe Notice of Right to Sue letterfrom the Equal Employment
                                           Opportunity Commission to this complaint.)


        C.            Only litigants alleging age discrimination must answer this question.

                      Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
                      regarding the defendant’s alleged discriminatory conduct (check one):


                                            60 days or more have elapsed,

                                            less tlian 60 days have elapsed.


V.       Relief

         State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
         arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
         amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
         or e.Kemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
         money damages.




                                                                                                                             Piiae ,S of 6
                 Case 1:20-cv-00157-JRH-BKE Document 1 Filed 11/10/20 Page 6 of 25

Pro Se 7(Rev. 12/16) Complaint for Employment Discrimination

        See Attached




VI.     Certification and Closing

       Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
       and belief that this complaint:(1)is not being presented for an improper purpose, such as to harass, cause
       unnecessary delay, or needlessly increase the cost oflitigation;(2)is supported by existing law or by a
       nonfiivolous argument for extending, modifying, or reversing existing law;(3)the factual contentions have
       evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
       opportunity for further investigation or discovery; and (4)the complaint otherwise complies with the
       requirements of Rule 11.



       A.           For Parties Without an Attorney

                    I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
                    served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
                    in the dismissal of my case.


                    Date of signing:                11/04/2020


                    Signature ofPlaintiff
                   Printed Name of Plaintiff                   yJawiine Bianca McKtimi-c
       B.          For Attorneys


                   Date of signing:


                    Signature of Attorney
                   Printed Name of Attorney
                   Bar Number
                   Name of Law Firm
                    Street Address

                    State and Zip Code
                   Telephone Number
                   E-mail Address




                                                                                                                     Page 6 of 6
 Case 1:20-cv-00157-JRH-BKE Document 1 Filed 11/10/20 Page 7 of 25




Additional Defendants in Individual Capacity
Jessica Ronee Richarson

Rosalind Michele Henson

Bradley David Padgett Sr.

Travis Dean Kessie

Stephen Martin Royal

Erin Ruff Zeigler

Antoni Dwyane Aiken

Jannes March

Daniel Flood
 Case 1:20-cv-00157-JRH-BKE Document 1 Filed 11/10/20 Page 8 of 25




B. The Defendant(s) Cont'd                          Sheet 1 of 3‘

Defendant No. 4

Name:       Bradley David Padgett Sr
Job or Title (if known):     Planning Supervisor
Street Address:       900 Windmill Pkwy
City and County:       Evans; Columbia
State and Zip Code:       GA 30809
Telephone Number:
E-mail Address (if known):



Defendant No. 5

Name:         Travis Dean Kessie
Job or Title (if known):      Planning Supervisor
Street Address:       935 Ellis Ln
City and County:        Evans; Columbia
State and Zip Code:        GA 30809
Telephone Number:
E-mail Address (if known):



Defendant No. 6

Name:         Stephen Martin Royal
Job or Title (if known):      Planning Supervisor
Street Address:       1016 Old Perkins Rd #TB18
City and County:        Millen; Jenkins
State and Zip Code:        GA 30442
Telephone Number:
E-mail Address (if known):
 Case 1:20-cv-00157-JRH-BKE Document 1 Filed 11/10/20 Page 9 of 25




B. The Defendant(s) Cont'd                             Sheet 2 of 3‘


Defendant No. 7

Name:         Erin Ruff Ziegier
Job or Title (if known):        Employee Concerns Liaison
Street Address:        502 Heil Dr
City and County:         North Augusta; Aiken
State and Zip Code:         SC 29841
Telephone Number:
E-mail Address (if known):



Defendant No. 8

Name:         Antoni Dwyane Aiken
Job or Title (if known):     Maintenance Director
Street Address:       610 Baldwin PI
City and County:       Grovetown; Columbia
State and Zip Code:       GA 30813
Telephone Number:
E-mail Address (if known):



Defendant No. 9

Name:         James March
Job or Title (if known):   Fleet Compliance and Concerns Director
Street Address:
City and County:
State and Zip Code:
Telephone Number:
E-mail Address (if known): Jfmarch ^SooHi-ernco. com
Case 1:20-cv-00157-JRH-BKE Document 1 Filed 11/10/20 Page 10 of 25




B. The Defendant(s) Cont'd                          Sheet 3 of 3

Defendant No. 10

Name:         Daniel Flood
Job or Title (if known):      Maintenance Support Manager
Street Address:              H337 Satxi l Or
City and County:             evens i Col urn biq
                             OA    309CC(
State and Zip Code:
Telephone Number:
E-mail Address (if known):
Case 1:20-cv-00157-JRH-BKE Document 1 Filed 11/10/20 Page 11 of 25




III. statement of Claim                         (Sheet 1 of 6)
E.

1. Southern Nuclear Operating Company was given the opportunity to resolve my
multitude of claims against the defendants employed by them. Southern Nuclear
Operating Company failed me at every level by not enforcing their own policies
regarding ethics, harassment, discrimination and retaliation therefore should be
held fully accountable.

2. From October 2016 until my resignation in January 2020 I was frequently
subjected to ongoing workplace harassment by defendants Jessica Richardson,
Rosalind Henson, Bradley Padgett Sr., Travis Kessie and Stephen Royal. The
continuous harassment during my employment at Plant Vogtle seemed like a rite
of passage to succeeding supervisors in the Maintenance Planning Department.
This harassment was initially perpetrated by Jessica Richardson who later
encouraged others to join her. Over time Planning Supervisors Bradley Padgett
Sr. and Travis Ke^ie recruited Maintenance Supervisors to also be hyper critical
of my work to create "data points". On several occasions I was unnecessarily
disciplined by the above defendants. The consequences of my work having
errors were harsher on me than certain Caucasian male employees. I feel that
the actions of these defendants unfairly caused me to be negatively rated
performance wise for several years despite me being the most senior and
experienced Instrumentation and Control Maintenance Planner in the Planning
Work Group. This malicious and target treatment has affected me professionally
and financially leading me to be overlooked for and denied promotional
opportunities that someone of my background would be afforded.


3. On or around March 6, 2017 Travis Kessie informed me that I would not be
allowed to use paid time off to attend an OBGYN appointment I had scheduled
citing the transition to a 5 8s work week preceding the upcoming refueling
outage. I explained to him that my pregnancy was considered high risk due to a
genetic predisposition of my unborn child. Two older male employees were
allowed to keep their appointments because Travis Kessie felt their age related
ailments were more pressing. He warned that if I went to the appointment I
would be reprimanded.
Case 1:20-cv-00157-JRH-BKE Document 1 Filed 11/10/20 Page 12 of 25




III. statement of Claim Cont'd (Sheet 2 of 6)
4. On or around November 5, 2017 I was contacted by Bradley Padgett Sr. while
I was on approved maternity leave. He told me that I would not be able to use
sick time as part of my maternity leave because I was not physically ill. He then
had Brooke Gurley, a representative from Medical, call to further intimidate me
to return to work before the end of my previously approved maternity leave. I
explained to both parties that I had used sick pay following my first caesarian I
had while employed by Southern Nuclear. Bradley Padgett Sr. told me that if I
remained adamant about using said paid time off that I would be disciplined
which could include termination. I returned to work prior to my approved date of
January 4, 2018. Several Caucasian male employees were allowed to sick time
for family illness and following personal surgeries. According to Bradley Padgett
Sr.'s logic, these individuals should not have been allowed to use sick paid
time off and should have been disciplined and/or threatened with termination,
however they were not.


5. During the calendar year of 2018 Bradley Padgett Sr. and Travis Kessie made
in an excess of 50+ entries in a log that included the times I entered the work
trailer, exit times, sick days used etc. When printed these entries totaled 9 typed
pages of text. Calendar year 2018 was the sixth calendar year I worked for
Southern Nuclear and I had not seen "infractions" notated as such. I stumbled
across these when acknowledging my end of the year performance summary. I
was not presenting these pages prior to be told to "lock in" my performance
summary. I asked several of my coworkers if their summary looked similar and
was told they did not have anything resembling this log attached to their
performance summary. Soon after I requested a security badge report from
Bradley Padgett Sr., Travis Kessie and Jessica Richardson. All said they did not
have the authorization to request one on my behalf. These entries are another
example of singling me out of the work group for reprimand. It was not a
method deployed to the work group as a whole and in turn singularly affected
me. Calendar year 2018 I was the only person to receive a poor performance
rating.


6. On or around May 15, 2018 I began meeting with Maintenance Director
(department head) Antoni Aiken to discuss possible mentorship. I had several
meetings with Antoni Aiken over the next few months. Being that I had built a
rapport with him since his position as I&C Manager, I felt comfortable to voice
the issues I had been having with my supervisors. I informed Antoni Aiken of the
seemingly non-stop harassment from Bradley Padgett Sr. and Travis Kessie. I
also told him that I previously went to Brian Coker (Maintenance Support
Case 1:20-cv-00157-JRH-BKE Document 1 Filed 11/10/20 Page 13 of 25




III. statement of Claim Cont'd (Sheet 3 of 6)
Manager) and felt like he had blew me off and that he immediately sided with
my supervisors instead of acting as a mediator. Antoni Aiken assured me he
would address the three supervisors I named to him. I told him that if the
harassment did not stop that my next course of action would be to file an official
employee concern. The harassment did not stop and I later filed an employee
concern (October 2018). I feel that Antoni Aiken became morally complicit and
did not perform at the full capacity as a deparment head to end my harassment.
I requested that Antoni Aiken remove me from the planning group or even send
me to another plant just so I could be at peace. He told me that I would have to
apply for a new position just like everyone else. In July 2018 Travis Kessie was
given a position that did not exist on our plant's organizational chart just so he
would not seek employment outside of Southern Company. When I later asked
Antoni Aiken how was this possible when I previously requested asylum he
responded that he "played no part in that decision". Antoni Aiken should be held
responsible for his role in allowing my harassment to continue. From May 2018
until January 2020 he never took a stand against this gross violation of company
policy.



7. On or around October 15, 2018 I met with Employee Concerns Liaison Erin
Zeigler to make an official report of the harassment I had been subjected to by
my direct supervision. The initial interview lasted about an hour and a half during
which I repeatedly asked Erin Zeigler did she need me to repeat or clarify any of
my claims. She insisted that she was taking thorough notes and that the
interview was being recorded for her records if she needed to revisit my claims
at a later time. At the conclusion of the interview I asked Erin Zeigler could I
read what she documented from the interview. She told me that I could not
because I would not understand the way she took notes. I insisted and she again
denied me the chance to view her notes. Since I had shared in the excess of 10
detailed incidents and spent a great deal of time with Erin Zeigler I wanted to be
assured it was not in vain. She informed me that the investigation into my claims
had to be completed within 30 days per procedure. When the 30 day deadline
had passed I contacted Erin Zeigler several times via phone and email inquiring
as to when I would have the results of the investigation. She responded that she
was working on the debrief and I would hear from her soon. I however did not
receive the debrief of this investigation until on or around December 12, 2018 far
past the procedural guidance of 30 days. After later escalating my harassment
and discrimination claims through a company wide compliance and ethics climate
sun/ey, I was informed by James March on or around January 25, 2019 that Erin
Case 1:20-cv-00157-JRH-BKE Document 1 Filed 11/10/20 Page 14 of 25




III. statement of Claim Cont'd (Sheet 4 of 6)
Zeigler had not included any of the claims that I stated in the survey. He said he
found it to be troubling that I again had an interview with him lasting in excess
of any hour in which I reshared details about the incidents and she had not
included any of those claims in her reporting. The exchange between James
March and myself was witnessed by Rachel Teo (Compliance Investigator). Erin
Zeigler committed gross misconduct by willfully violating company policy
regarding handling employee concerns, in particularly my complaint of
discrimination and harassment.



8. On or around December 17, 2018 despite being not found at fault due to Erin
Zeigler not being compliant with company policy, Bradley Padgett Sr. and
Stephen Royal committed an act of retaliation against me by deleting my work
qualification approximately 5 days following the debriefing of my first employee
concern. Jessica Richardson served as Maintenance Support Manager and she
backed this action. Bradley Padgett Sr. and Jessica Richardson among others
were named in my employee concern as harassers. I questioned the defendants
as to what their basis was to delete my planner qualification and was told by ail
three that I outpaced my peers in the number of work packages that were
returned with errors. At this time I was and remained the most senior
Instrumentation &, Control Maintenance Planner, I was not willing to accept their
reasoning and took it upon myself to run a report using a preset query located
on the company's Work Management homepage that tabulated Work Order
Feedback of all maintenance planners. I informed Jessica Richardson on or
around February 14, 2019 of my discovery. She appeared shocked and then
quickly discounted my findings. This report was and is currently used in weekly
progress meetings across various departments and leadership levels at Plant
Vogtie. All three defendants have prompted the planning work group to refer to
this report in order to support the "Big 3" Planning Initiative. Upon reviewing
the Work Order Feedback report that covered 1/01/2018 through 12/17/2018 I
discovered that my coworker David Halliwell had 156 work orders with errors
compared to my 89 work orders. We both authored approximately the same
amount of work orders that year (~440). No disciplinary action was taken
against David Halliwell regarding his poor performance and his planner
qualifications were not deleted. David Halliwell is a Caucasian male. I can only
conclude my planner qualifications were deleted as a result of naming my
supervisors in my employee concern therefore should be considered retaliation. I
had to requalify as maintenance planner in order to regain the ability to do the
job I was hired to do. In the three months I was not a qualified maintenance
 planner I was
Case 1:20-cv-00157-JRH-BKE Document 1 Filed 11/10/20 Page 15 of 25




III. statement of Claim Cont'd (Sheet 5 of 6)
assigned administrative tasks, I believe this action was meant to build discord
between the other maintenance planners and myself. I was still receiving my
normal pay of a maintenance planner. The actions of Bradley Padgett Sr.,
Stephen Royal and Jessica Richardson were meant to humiliate me, impugn my
credibility and ability to perform to further alienate me from the work group.



9. On or around December 17, 2018 I was accused of stealing company by
Bradley Padgett Sr. and Stephen Royal. The two said the basis of their claim is
that I used the timesheet code "No Time Worked, No Pay". The dollar amount of
this time code is $0.00. They felt I had deceived Stephen Royal along with
Southern Nuclear by taking time off away from work without pay. Bradley
Padgett Sr. and Stephen Royal called into question my integrity and
trustworthiness. I was offended and humiliated by their claims. I had gained
approval to take the days December 3'"'^ through December 16‘'" (2018) off
from Stephen Royal via email on or around November 20, 2018.1 was placed on
Employee Discipline that would last 6 months. During this six months my status
of employment would be at jeopardy if I were to violate any company policies.
On or around February 14, 2019 in a conversation with Jessica Richardson
regarding me being on employee discipline, she stated that I should be thankful
that I still had a job. I feel that these three defendants violated my due process
rights by placing me on employee discipline for using the time code "No Time
Worked, No Pay". Richard (Ricky) Weis has used the same time code for the
purpose of taking non-emergency leave and had not been placed on Employee
Discipline. Richard (Ricky) Weis told me that he has used this time code the
same as I had dating as far back as 2016 with no reprimand. Richard (Ricky)
Weis is a Caucasian male.


10. James March became morally complicit in inappropriately handling my
complaint of harassment and discrimination by violating procedural guidance of
conducting a workplace assessment. James March insisted that the workplace
assessment he and his team would conduct would be unbiased and that ail facts
and details of said investigation would be forwarded to company executives that
would rule on the matter. However on or around May 28, 2020 on several
occasions during the debriefing James March stated that he was told by "upper
management" to omit certain findings from his report before it's contents were
sent to executives. He also stated that he could not"go against upper
management". These actions lead to critical information being left out of his
Case 1:20-cv-00157-JRH-BKE Document 1 Filed 11/10/20 Page 16 of 25




III. statement of Claim Cont'd (Sheet 6 of 6)
summary. Information that would support my claim of workplace harassment
that spanned years. This conversation was witnessed by Rachel Teo, Compliance
Investigator. James March's inability to maintain a neutral position in exposing
my harassers only allowed it continue. His suppression of facts whether
encouraged or done on his own only mitigated the affects of the harassment and
discrimination I had been subjected to while employed at Plant Vogtie.


11. Daniel Flood was aware of the targeted workplace harassment that involved
Bradley Padgett Sr. and Stephen Royal against myself. As part of senior
management he did nothing to stop their antics. Despite me requalifying as a
Maintenance Planner, Daniel Flood allowed me to be given a poor performance
rating for the calendar year 2019. He did not challenge the decision given my
past issues of harassment with Bradley Padgett Sr. and Stephen Royal. Daniel
Flood lacked the ability to uphold and enforce the Southern Nuclear's ethics
and harassment policies.
 Case 1:20-cv-00157-JRH-BKE Document 1 Filed 11/10/20 Page 17 of 25




V. Relief                                          (Sheet 1 of 2)
Collectively the defendants denied me a workplace free from harassment. The
defendants formed assumptions around gender and racial stereotypes leading
them to make decisions based on their own prejudices that affected me
professionally, financially and emotionally. Over the course of three and a half
years the defendants subjected me to racial and gender discrimination and
workplace harassment by doing the following: denying me advancement
opportunities; unnecessarily disciplining me; treating me unfavorably during and
following my pregnancy; violating my due process rights amongst other things as
previously stated in this complaint. During my employment at Southern Nuclear
Operating Company, Caucasian males with lower seniority and experience where
given opportunities to move up while my performance was unfairly scrutinized.
My employee performance record has been permanently sullied. The actions of
the defendants will make it near impossible for me to regain employment with
Southern Company and any other utility that Plant Vogtie has formed working
relationships with through benchmarking despite my educational background and
prior experience in the United States Navy's Nuclear Propulsion Program. I would
essentially have to throw away 13 years of experience in the nuclear power
maintenance and operations field.


The above injustices violated Title VII of the Civil Acts of 1964 therefore I am
seeking the following as judgement;


Max Amount allowed for punitive damages for companies with 501+ employees:
                              $300,000.00

Lost Wages

   - Forfeited bonus percentages due to unfair performance ratings

         Calendar year 2016: $5,421.30
         Calendar year 2018: $5,051.75
         Calendar year 2019: '$ 7,000.00*

         * This is an approximation. Since I was not an active employee at time
of disbursement in March 2020 I did not receive an Employee Compensation
Statement. I believe upwards of 40% was withheld.
 Case 1:20-cv-00157-JRH-BKE Document 1 Filed 11/10/20 Page 18 of 25




V. Relief                                        (Sheet 2 of 2)



Back Pay

Due to poor performance ratings I was denied a cost of living adjustment for the
calendar years 2019 and 2020. 1 am requesting a COLA of 2.0% for each year.

My last hourly rate was $46.53.

  2019     46.53 X .02 X 2080 (average work hours in a yr) = $1,935. 65

            46.53 X .02 X 208 (hrs of OT as 10% of hr worked in a yr) = 193.44


  2020     To cover 1/25/2020 through 12/31/2020 reflects COLA of 2.0 %

           48.59 X 2000(work hours I would have received) = $97,180.00

            48.59 X 208 (hrs of OT as 10% of hr worked in a yr) = $10,106.72


Future wages

 Calculated as:

(highest salary + highest PPP percentage I received at SNC [15.7%] + OT as
10% of hr worked in a yr) x 25 yrs*

(101,067.20 + 21,099.62 + 10,106.72) x 25 = $3,306,838.50

*Twenty-five years reflects the current age demographic of employees at Plant
Vogtie and the likelihood of remaining employed there until one reaches
retirement age.



Total amount of compensation requested: $3,733, 727.36
                 Case 1:20-cv-00157-JRH-BKE Document 1 Filed 11/10/20 Page 19 of 25
EEOC Form 5 (11/09)

                  Charge of Discrimination                                                 Charge Presented To:              Agency(ies) Charge
                                                                                                                             No(s):
       This form is affected by the Privacy Act of 1974. See enciosed Privacy Act
             Statement and other information before compieting this form.                     ^ FEPA
                                                                                              Y| EEOC                          410-2020-05766
                                                                          null                                                             and EEOC
                                                               state or localAgency, ifany
Name (indicate Mr., Ms.. Mrs.)                                                                              Home Phone                  Year of Birth

MS. JASMINE MCKENZIE                                                                                  (334) 796-9407                      1985
street Address                                                         City, State and ZIP Code

5012 SUNDERLUND CT. GROVETOWN, GA 30813

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency
That I Believe Discriminated Against Me or Others, {if more than two, iist under PARTICULARS below.)
Name                                                                                                No. Employees, Members            Phone No.

SOUTHERN NUCLEAR OPERATING COMPANY                                                                         501+                 (706) 554-9961
Street Address                                                         City, State and ZIP Code

7821 RIVER ROAD, WAYNESBORO, GA 30830

Name                                                                                                No. Employees, Members            Phone No.



Street Address                                                         City, State and ZIP Code




DISCRIMINATION BASED ON (Check appropriate box(es).)                                                        DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                  Earliest             Latest
        RACE              COLOR          X    SEX              RELIGION             NATIONAL ORIGIN          10-15-2016               01-24-2020
       X     RETALIATION                AGE          DISABILITY              GENETIC INFORMATION

                      OTHER (Specify)                                                                                        CONTINUING ACTION

THE PARTICULARS ARE (ifadditionaipaper is needed, attach extra sheet(s)):
 1. 1 was hired by the above-named employer on April 15, 2013, as a Maintenance Planner. Since October
 15, 2016, 1 have suffered from on-going harassment, which caused me to be rated negatively on my
 performance review by Jessica Richardson, Maintenance Planning Supervisor. Around February 20, 2017
 and November 5, 2017, 1 was denied the opportunity to take time off to attend my medical appointments
 related to my pregnancy, when my similarly-situated male co-workers of a different race were allowed
 time off to attend medical appointments. Around May 15, 2018, 1 complained to my Maintenance
 Director, Tony Akin in regard to being harassed by my Supervisors, Brad Padgett and Travis Kessie
 regarding being harassed and being accused of excessive absences, along with being denied
 promotional opportunities. Around October 15, 2018, 1 complained to Human Resources and Employee
 Concerns about my on-going harassment. Around December 17, 2018, my qualifications were taken
 away for me. Around January 16, 2019, 1 received a partially meets expectations performance appraisal
 from Supervisors Brad Padgett and Stephen Royal based on my work quality. Around January 10, 2019, 1
 was placed on a PIP. Around January 25, 2019, 1 complained to the Compliance and Ethics Department
 and a workplace assessment was conducted and the assessment revealed that no unfair treatment was
I want this charge filed with both the EEOC and the State or local Agency,          NOTARY - When necessary for State and Locai Agency Requirements
if any. I will advise the agencies if I change my address or phone number
and I will cooperate fully with them in the processing of my charge in
accordance with their procedures.
                                                                                    I swear or affirm that I have read the above charge and that it
I declare under penalty of perjury that the above is true and correct.              is true to the best of my knowledge, information and belief,
                                                                                    SIGNATURE OF COMPLAINANT



  Digitally signed by Jasmine Mckenzie on 06-02-2020 03:05                          SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                            PM EDT                                                  {month, day, year)
                 Case 1:20-cv-00157-JRH-BKE Document 1 Filed 11/10/20 Page 20 of 25
EEOC Form 5 (11/09)

                  Charge of Discrimination                                                Charge Presented To:         Agency(ies) Charge
                                                                                                                       No(s);
      This form is affected by the Privacy Act of 1974. See enciosed Privacy Act                   FEPA
            Statement and other information before compieting this form.
                                                                                               x\ EEOC                   410-2020-05766
                                                                         null                                                          and EEOC
                                                              state or local Agency, ifany
 administered to me. On March 5, 2019, 1 completed my PIP. On June 25, 2019, 1 received a below
 expectations on my mid-year review. Around January 22, 2020, 1 was informed by Supervisor, Stephen
 Royal that I would be receiving a below expectations rating on my performance review. On January 24,
 2020, 1 was constructively discharged.

 II. I believe that I have been discriminated against based on my race (African-American), sex (femaie)
 and in retaliation for opposing unlawful employment practices, in violation of Titie VII of Civil Rights Act
 of 1964, as amended.




I want this charge filed with both the EEOC and the State or local Agency,         NOTARY - When necessary for State and Local Agency Requirements
if any. I will advise the agencies if I change my address or phone number
and I will cooperate fully with them in the processing of my charge in
accordance with their procedures.                                                  I swear or affirm that I have read the above charge and that it
I declare under penalty of perjury that the above is true and correct.             is true to the best of my knowledge, information and belief.
                                                                                   SIGNATURE OF COMPLAINANT


  Digitally signed by Jasmine Mckenzie on 06-02-2020 03:05                         SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                            PM EDT                                                 (month, day, year)
            Case 1:20-cv-00157-JRH-BKE Document 1 Filed 11/10/20 Page 21 of 25
CP Enclosure with EEOC Form 5 (11/09)

Privacy Act Statement: Unider the Privacy Act of 1974, Pub. Law 93-579, authority to
request personal data and its uses are:

1.    Form Number/Title/Date. EEOC Form 5, Charge of Discrimination (11/09).

2. Authority. 42 u.s.c. 2000e-5(b), 29 u.s.c. 211, 29 u.s.c. 626, 42 u.s.c. 12117, 42 u.s.c.
2000ff-6.

3. Principal Purposes. The purposes of a charge, taken on this form or otherwise
reduced to writing (whether later recorded on this form or not) are, as applicable
under the EEOC anti-discrimination statutes (EEOC statutes), to preserve private suit
rights under the EEOC statutes, to invoke the EEOC's jurisdiction and, where dual
filing or referral arrangements exist, to begin state or local proceedings.

4. Routine Uses. This form is used to provide facts that may establish the existence
of matters covered by the EEOC statutes (and as applicable, other federal, state or
local laws). Information given will be used by staff to guide its mediation and
investigation efforts and, as applicable, to determine, conciliate and litigate claims of
unlawful discrimination. This form may be presented to or disclosed to other federal,
state or local agencies as appropriate or necessary in carrying out EEOC's functions.
A copy of this charge will ordinarily be sent to the respondent organization against
which the charge is made.

5. Whether Disclosure is Mandatory; Effect of Not Giving Information. Charges must
be reduced to writing and should identify the charging and responding parties and the
actions or policies complained of. Without a written charge, EEOC will ordinarily not
act on the complaint. Charges under Title VII, the ADA or GINA must be sworn to or
affirmed (either by using this form or by presenting a notarized statement or unsworn
declaration under penalty of perjury); charges under the ADEA should ordinarily be
signed. Charges may be clarified or amplified later by amendment. It is not
mandatory that this form be used to make a charge.

                          Notice of Rightto Request Substantial Weight Review

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual
files charges with EEOC will ordinarily be handled first by the FEPA. Some charges
fiied at EEOC may also be first handled by a FEPA under worksharing agreements.
You will be told which agency will handle your charge. When the FEPA is the first to
handle the charge, it will notify you of its finai resolution of the matter. Then, if you
wish EEOC to give Substantial Weight Review to the FEPA's final findings, you must
ask us in writing to do so within 15 days of your receipt of its findings. Otherwise, we
wiil ordinarily adopt the FEPA's finding and close our file on the charge.

                                    Notice of Non-Retaliation Requirements

Please notify EEOC or the state or local agency where you filed your charge if
retaiiation is taken against you or others who oppose discrimination or cooperate in
any investigation or lawsuit concerning this charge. Under Section 704(a) of Title VII,
Section 4(d) of the ADEA, Section 503(a) of the ADA and Section 207(f) of GINA, it is
unlawful for an employerto discriminate against present or former employees or job
applicants, for an employment agencyto discriminate against anyone, or for a union
to discriminate against its members or membership applicants, because they have
opposed any practice made unlawful by the statutes, or because they have made a
charge, testified, assisted, or participated in any manner in an investigation.
        Case 1:20-cv-00157-JRH-BKE Document 1 Filed 11/10/20 Page 22 of 25

proceeding, or hearing under the laws. The Equal Pay Act has similar provisions and
Section 503(b) of the ADA prohibits coercion, intimidation, threats or interference with
anyone for exercising or enjoying, or aiding or encouraging others in their exercise or
enjoyment of, rights under the Act.
                  Case 1:20-cv-00157-JRH-BKE Document 1 Filed 11/10/20 Page 23 of 25

EEOC Form 161 (1 i/16)                   U.S. Equal Employment Opportunity Commission

                                                 Dismissal and Notice of Rights
To:    Jasmine McKenzie                                                              From:    Atlanta District Office
       5012 Sunderlund Ct                                                                     100 Alabama Street, S.W.
       Grovetown, GA 30813                                                                    Suite 4R30
                                                                                              Atlanta, GA 30303


       X                    On behalf of person(s) aggrieved whose identity is
                            CONFIDENTIAL (29 CFR 1^1601.7(an
EEOC Charge No.                                EEOC Representative                                                   Telephone No.
                                               Larry E. Satterwhite,Sr.
410-2020-05766                                 Investigator                                                         (404)562-6855
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
                 The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

                 Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

                 The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

                 Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge
       X         The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                 information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                 the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.
                 The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

                 Other (briefly state)


                                                       - NOTICE OF SUIT RIGHTS -
                                                  (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act(EPA): EPA suits must be filed in federal or state court within 2 years(3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years(3 years)
before you file suit may not be collectible.

                                                                    On behalf of the Commission

                                                                                                            For     8-17-2020
 Enclosures(s)                                                    Darrell E. Graham,                                       (Date Mailed)
                                                                   District Director
 cc:
            Stephen Kuczynski                                                       Brent Cobb
            President and CEO                                                       Southern Company Services, Inc.
            SOUTHERN NUCLEAR COMPANY                                                600 North 18th Street
            40 Iverness Center Parkway                                              Birmingham, AL 35203
            Birmingham, AL 35242
            Case 1:20-cv-00157-JRH-BKE Document 1 Filed 11/10/20 Page 24 of 25
Enclosure with EEOC
Form 161 (11/16)
                                             Information Related to Filing Suit
                                           Under the Laws Enforced by the EEOC

                              (This information relates to filing suit in Federal or State court under Federal law.
                      If you also plan to sue claiming violations of State law, please be aware that time limits and other
                             provisions of State law may be shorter or more limited than those described below.)

Private Suit Rights                    Title VII of the Civil Rights Act, the Americans with Disabilities Act(ADA),
                                       the Genetic Information Nondiscrimination Act(GINA), or the Age
                                       Discrimination in Employment Act(ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.
Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court, if so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

Private Suit Rights                    Equal Pay Act(EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years(3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 - nof 12/1/10 - in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

Attorney Representation                        Title VII, the ADA or GINA;

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires(you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

Attorney Referral and EEOC Assistance                                  All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number(as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                  IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
                       ●it


                Case 1:20-cv-00157-JRH-BKE Document 1 Filed 11/10/20 Page 25 of 25




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Enclosures(s)

cc:
